                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN

WILLIAM FEEHAN,
                                           No. 2:20-cv-1771
                Plaintiff,

     v.

WISCONSIN ELECTIONS
COMMISSION, and its members ANN
S. JACOBS, MARK L. THOMSEN,
MARGE BOSTELMANN, JULIE M.
GLANCEY, DEAN HUDSON, ROBERT
F. SPINDELL, JR., in their official
capacities, GOVERNOR TONY EVERS,
in his official capacity,

                Defendants.



   PROPOSED INTERVENOR-DEFENDANT DEMOCRATIC NATIONAL
    COMMITTEE’S BRIEF IN SUPPORT OF MOTION TO INTERVENE




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                                 I.     Introduction
      Pursuant to Federal Rule of Civil Procedure 24, Proposed Intervenor

Defendant DNC Services Corporation/Democratic National Committee (“DNC”)

moves to intervene as a defendant in this lawsuit. Through this lawsuit, Plaintiffs

seek to undo Wisconsin’s lawful certification of the election results. They base their

requested relief on, among other things, speculation, questionable evidence, and

flawed legal theories. The DNC represents a diverse group of Democrats, including

elected officials, candidates, constituents, and voters. The extraordinary relief

Plaintiffs request would deprive the DNC’s members and constituents of their rights
to have their votes counted, undermine the electoral prospects of the DNC’s

candidates, and divert the DNC’s resources. The DNC’s intervention in this lawsuit

is necessary to protect those interests.

      Pursuant to Rule 24(c) a conditional answer is attached to Exhibit 1. 1

                                  II.      Argument

A.    The DNC is entitled to intervene as of right.
      The DNC is entitled to intervene as of right because (1) its “motion is timely”;

(2) the DNC “has an interest relating to the property or transaction at issue in the

litigation”; and (3) “that interest may, as a practical matter, be impaired or impeded

by disposition of the case.” Driftless Area Land Conservancy v. Huebsch, 969 F.3d 742,

746 (7th Cir. 2020). Further, no “existing part[y] adequately represent[s]” the DNC’s

interests. Id. (emphasis omitted).

      1.       The motion to intervene is timely.
      First, this motion is timely. In considering whether a motion to intervene is

timely, courts consider, among other things, “(1) the length of time the intervenor

knew or should have known of his interest in the case” and “(2) the prejudice caused

1     The DNC intends to file a motion to dismiss. But to comply with Rule 24(c),
and in the event this Court denies the DNC’s forthcoming motion to dismiss, the DNC
has submitted a proposed, conditional answer.

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to the original parties by the delay.” State v. City of Chicago, 912 F.3d 979, 984 (7th

Cir. 2019) (quoting Grochocinski v. Mayer Brown Rowe & Maw, LLP, 719 F.3d 785,

797 (7th Cir. 2013)).

      In this case, the DNC is filing its motion to intervene just two days after

plaintiffs filed this lawsuit. The DNC has thus “move[d] to intervene as soon as it”

knew “its interests might be adversely affected by the outcome of the litigation.”

Heartwood, Inc. v. U.S. Forest Serv., Inc., 316 F.3d 694, 701 (7th Cir. 2003). No

defendant has yet filed a response to Plaintiffs’ complaint. And the DNC is prepared

to proceed in accordance with whatever schedule this Court sets. Thus, intervention

by the DNC will neither delay the resolution of this matter nor prejudice any party.

Under these circumstances, the motion is timely.

      2.       The DNC has significant interests at stake in this litigation.
      Second, the DNC has a “direct, significant, and legally protectable” interest in

this litigation that supports its intervention. Solid Waste Agency of N. Cook Cty. v.

U.S. Army Corps of Engineers, 101 F.3d 503, 506 (7th Cir. 1996). The rules for

mandatory intervention “do[] not define ‘interest.’” Lopez-Aguilar v. Marion Cty.

Sheriff's Dep’t, 924 F.3d 375, 391 (7th Cir. 2019). But, the “standing inquiry,” gives

content to its meaning, as the Seventh Circuit has “required ‘more than the minimum
Article III interest’ for intervention.’” Planned Parenthood of Wisconsin, Inc. v. Kaul,

942 F.3d 793, 798 (7th Cir. 2019) (quoting Flying J, Inc. v. Van Hollen, 578 F.3d 569,

571 (7th Cir. 2009)). At the same time, the Seventh Circuit has “interpreted

‘statements of the Supreme Court as encouraging liberality in the definition of an

interest.’” Lopez-Aguilar, 924 F.3d at 392 (quoting Meridian Homes Corp. v. Nicholas

W. Prassas & Co., 683 F.2d 201, 204 (7th Cir. 1982)).

      The DNC has several significant, protectable interests at stake in this lawsuit,

each of which justify its intervention. First, Plaintiffs seek to disrupt the certification

of Wisconsin’s November 3, 2020 Presidential election results and to cast doubt on

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the entitlement of the Democratic Party’s candidates for President and Vice-

President to Wisconsin’s ten electoral votes. Interference with a political party’s

electoral prospects constitutes constitutional injury. See, e.g., Tex. Democratic Party

v. Benkiser, 459 F.3d 582, 586–87 (5th Cir. 2006) (holding that a “basis for the [Texas

Democratic Party’s] direct standing is harm to its election prospects” and that “a

political party’s interest in a candidate’s success is not merely an ideological

interest”); Owen v. Mulligan, 640 F.2d 1130, 1132 (9th Cir. 1981) (holding that “the

potential loss of an election” is sufficient injury to confer Article III standing). Courts

have permitted political parties to intervene on these grounds. See, e.g., Issa v.

Newsom, No. 220CV01044MCECKD, 2020 WL 3074351, at *3 (E.D. Cal. June 10,

2020) (granting intervention of state party where “Plaintiffs’ success on their claims

would disrupt the organizational intervenors’ efforts to promote the franchise and

ensure the election of Democratic Party candidates” (quoting Paher v. Cegavske, No.

320CV00243MMDWGC, 2020 WL 2042365, at *2 (D. Nev. Apr. 28, 2020))).

      Further, Plaintiffs’ requested relief of de-certifying the election would have

significant disenfranchising effects on the DNC’s constituents. See Crawford v.

Marion Cty. Election Bd., 553 U.S. 181, 189 n.7 (2008) (agreeing with the unanimous

view of the Seventh Circuit that the Indiana Democratic Party had Article III
standing to challenge a voter identification law that risked disenfranchising its

members). This, in turn, would require the DNC to divert resources to safeguard the

timely certification of statewide results. See Crawford v. Marion Cnty. Election Bd.,

472 F.3d 949, 951 (7th Cir. 2007) (concluding that challenge law “injure[d] the

Democratic Party by compelling the party to devote resources” that it would not have

needed to devote absent new law), aff’d, 553 U.S. 181 (2008); see also Issa, 2020 WL

3074351, at *3 (granting intervention and citing this interest).

       As a result, the DNC’s injuries are direct and significant and support its

intervention.

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       3.       Denial of the motion to intervene would impair the DNC’s
                ability to protect its interests.
       Next, the DNC’s interests “may, as a practical matter, be impaired or impeded

by disposition of the case.” Driftless Area Land Conservancy, 969 F.3d at 746. When,

as here, a proposed intervenor has a protectable interest in the outcome of the

litigation, courts have “little difficulty concluding” that its interests will be impaired.

Citizens for Balanced Use v. Montana Wilderness Ass’n, 647 F.3d 893, 898 (9th Cir.

2011) (quoting California ex rel. Lockyer v. United States, 450 F.3d 436, 442 (9th Cir.

2006)). When considering this factor, courts examine the “practical consequences” of
denying intervention. Nuesse v. Camp, 385 F.2d 694, 702 (D.C. Cir. 1967); Advisory

Comm. to Fed. R. Civ. P. 24 1966 Amendment (“If an absentee would be substantially

affected in a practical sense by the determination made in an action, he should, as a

general rule, be entitled to intervene. . . .”).

       As set forth above, there can be little doubt that if Plaintiffs were to succeed in

decertifying the election, the DNC “would be directly rather than remotely harmed.”

Flying J, Inc. v. Van Hollen, 578 F.3d 569, 572 (7th Cir. 2009). The relief Plaintiffs

seek—decertification of the election—would threaten the DNC’s electoral prospects,

disenfranchise the DNC’s members, and otherwise harm the DNC’s mission. Courts

have frequently permitted political parties to intervene in similar circumstances. See,

e.g., Paher v. Cegavske, No. 20-00243-MMD-WGC, 2020 WL 2042365, at *4 (D. Nev.

Apr. 28, 2020) (granting DNC intervention in election case regarding election

procedures and recognizing impairment of DNC’s interests); see also Issa, 2020 WL

3074351, at *3 (recognizing impairment of state party’s interests in lawsuit regarding

election procedures).

       4.       The DNC’s interests are not adequately represented by the
                existing parties.
       Finally, the DNC’s interests are not adequately represented by the existing

parties. Driftless Area Land Conservancy, 969 F.3d at 747. The Seventh Circuit


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employs a tiered approach to “evaluating adequacy of representation.” Id. at 747.

“‘The default rule . . . is a liberal one.’” Id. (quoting Planned Parenthood of Wisconsin,

Inc., 942 F.3d at 799). It requires a ‘minimal” burden of showing that representation

“‘may be’ inadequate.” Id. (quoting Trbovich v. United Mine Workers of Am., 404 U.S.

528, 538 n.10 (1972)). A more stringent showing is required “if the interest of the

absentee is identical to that of an existing party, or if a governmental party is charged

by law with representing the absentee's interest.” Id. Ultimately, examination of this

factor “calls for a contextual, case-specific analysis, and resolving questions about the

adequacy of existing representation requires a discerning comparison of interests.”

Id. at 748.

       In this case, the Defendants and the DNC have “interests and objectives that

are materially different” from each other. Id. at 749. The Defendants have an interest

in defending the actions of state officials. The DNC has different objectives: ensuing

that the valid ballot of every Democratic voter in Wisconsin is counted and

safeguarding the election of Democratic candidates. Ultimately, the DNC has specific

interests and concerns—including the Democratic Party’s overall electoral prospects

and use of their limited resources—that none of the current Defendants share.

Considering these material differences in objectives, no heightened burden of
showing of inadequacy is required. 2 Id. And the DNC has met the “minimal” burden
of showing that the Defendants’ “representation ‘may be’ inadequate.” Id. (quoting

Trbovich, 404 U.S. at 538 n.10).




2      Further, the Wisconsin Elections Commission and Governor are not “charged
by law with protecting the interests of the proposed intervenors,” the DNC. Planned
Parenthood of Wisconsin, Inc., 942 F.3d at 799; see also Wisconsin Educ. Assn Council
v. Walker, 705 F.3d 640, 659 (7th Cir. 2013) (finding that, in challenge to
constitutionality of statute related to unions, the Governor and other state officials
were “not charged by law” with protecting interests of employees seeking to intervene
in defense of the statute).

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      Indeed, other courts have held that such divergent interests between

government defendants and others warrant intervention. See, e.g., Kleissler v. U.S.

Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998) (recognizing that intervention may be

appropriate when “an agency’s views are necessarily colored by its view of the public

welfare rather than the more parochial views of a proposed intervenor”); see also, e.g.,

Issa, 2020 WL 3074351, at *3 (granting intervention and observing that the interests

of officials were to “properly administer election laws,” in contrast to the interests of

a state party, which included “ensuring their party members and the voters they

represent have the right to vote,” “advancing their electoral prospects,” and

“allocating their limited resources”); Paher, 2020 WL 2042365, at *3 (granting

intervention as of right where proposed intervenors, including the DNC, “may present

arguments about the need to safeguard [the] right to vote that are distinct from [state

defendants’] arguments”).

B.    The DNC is also entitled to permissive intervention.
      If the Court does not grant intervention as a matter of right, the DNC

respectfully requests that the Court exercise its discretion to allow it to intervene

under Rule 24(b). The Court has discretion to grant a motion for permissive

intervention when the Court determines that: (1) the proposed intervenor’s claim or
defense and the main action have a “common question of law or fact,” and (2) the

intervention will not “unduly delay or prejudice the adjudication of the original

parties’ rights.” Fed. R. Civ. P. 24(b)(1)(B) and (b)(3); see also Planned Parenthood of

Wisconsin, Inc., 942 F.3d at 803 (discussing the district court’s broad discretion in

granting permissive intervention).

      The DNC meets the criteria for permissive intervention. The motion to

intervene is timely and, given that this litigation is at a very early stage, intervention

will not unduly delay or prejudice the adjudication of the original parties’ rights.

Moreover, the DNC will inevitably raise common questions of law and fact, including

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challenging Plaintiffs’ claims that the lawful votes of Wisconsin voters should be

invalidated. The DNC would contribute to the complete development of the factual

and legal issues before this Court and is “uniquely qualified to represent the ‘mirror-

image’ interests” of the Plaintiff. See Democratic Nat'l Comm. v. Bostelmann, No. 20-

CV-249-WMC, 2020 WL 1505640, at *5 (W.D. Wis. Mar. 28, 2020) (denying

Republican National Committee’s motion to intervene as a matter of right but

granting permissive intervention because the RNC represented “the ‘mirror-image’

interests” of the plaintiffs).

                                 III.   Conclusion
       For the reasons stated above, this Court should grant the DNC’s motion to

intervene as a matter of right. In the alternative, this Court should exercise its

direction and grant the DNC permissive intervention.

       DATED: December 4, 2020.




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                                         Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

       I hereby certify that on Friday, December 4, 2020, I filed a copy of the foregoing

with the Clerk of the Court using the CM/ECF system, which will send notification

of such filing to all counsel of record.


                                           /s/ Michelle M. Umberger
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